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    1                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
    2                             SOUTHERN DIVISION

    3     UNITED STATES OF AMERICA,

    4                       Plaintiff,

    5           -v-                         Case No. 17-20274

    6     JUMANA NAGARWALA, FAKHRUDDIN
          ATTAR, FARIDA ATTAR, FATEMA
    7     DAHODWALA, & TAHERA SHAFIQ,

    8

    9                        Defendants./

   10                                 MOTION HEARING
                             BEFORE HON. BERNARD A. FRIEDMAN
   11                          United States District Judge
                             Theodore Levin U.S. Courthouse
   12                         231 West Lafayette Boulevard
                                 Detroit, Michigan 48226
   13
                              (Tuesday, August 29, 2017)
   14
          APPEARANCES:          SARA WOODWARD, ESQUIRE
   15                           MALISA CHOKSI DUBAL, ESQUIRE
                                Appearing on behalf of the Government.
   16
                                SHANNON SMITH, ESQUIRE, ESQUIRE
   17                           Appearing on behalf of Defendant Jumana
                                Nagarwala.
   18
                                MARY CHARTIER-MITENDORF, ESQUIRE
   19                           Appearing on behalf of Defendant
                                Fakhruddin Attar.
   20
                                MATTHEW NEWBURG, ESQUIRE
   21                           Appearing on behalf of Defendant Farida
                                Attar.
   22
                                BRIAN M. LEGGHIO, ESQUIRE
   23                           Appearing on behalf of Defendant
                                Fatema Dahodwala.
   24
                                JEROME SABBOTA, ESQUIRE
   25                           Appearing on behalf of Defendant Tahera
                                Shafiq.
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    2
          COURT REPORTER:       MARIE METCALF, CVR, CM
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    3                Detroit, Michigan

    4                Tuesday, August 29, 2017

    5                At 11:03 a.m.

    6                                 *      *      *

    7                DEPUTY COURT CLERK:     United States District Court

    8     for the Eastern District of Michigan is now in session, the

    9     Honorable Bernard A. Friedman presiding.

   10                THE COURT:    Thank you.    You may be seated.

   11                You may call the case, please.

   12                DEPUTY COURT CLERK:     The Court calls case number

   13     17-20274, Nagarwala.

   14                THE COURT:    I believe we have more -- there's the

   15     rest of the two, but that's okay.

   16                DEPUTY COURT CLERK:     Et al.

   17                THE COURT:    May we have appearances, starting with

   18     the government, please?

   19                MS. WOODWARD:    Good morning, Your Honor.        Sara

   20     Woodward on behalf of the United States, and Malisa Dubal on

   21     behalf of the United States.

   22                With us at counsel table are Special Agents Kevin

   23     Swanson with the FBI, and Special Agent Lisa Keith with

   24     Homeland Security.

   25                THE COURT:    Okay.   Thank you.


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    1                And for the defendants, please?

    2                MS. CHARTIER:    Good morning, Your Honor.         Mary

    3     Chartier, on behalf of Fakhruddin Attar who's standing behind

    4     me.

    5                THE COURT:    Okay.

    6                MR. NEWBURG:    Good morning, Your Honor.         Matt

    7     Newburg on behalf of Farida Attar, who's standing behind me.

    8                THE COURT:    Okay.

    9                MR. SABBOTA:    Good morning, Judge Friedman.          How are

   10     you?

   11                THE COURT:    Good.   How are you?

   12                MR. SABBOTA:    Good.

   13                THE COURT:    A new face.

   14                MR. SABBOTA:    Pardon?

   15                THE COURT:    A new face.    It's a new face at the

   16     table.    I mean, it's a new face at that table.            It's a very

   17     familiar face to me.      I've known him a long time.

   18                MR. SABBOTA:    Jerome Sabotta, on behalf of Ms.

   19     Shafiq.    She's in the peach outfit.

   20                MR. LEGGHIO:    Good morning, Judge.      May it please

   21     the Court, Brian Legghio, appearing on behalf of Defendant

   22     D-6, Fatema Dahodwala, and she is sitting in the audience in

   23     the pink.

   24                THE COURT:    Thank you, good.      Another new face.

   25     Also, nice to see you.


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    1                MR. LEGGHIO:    Good morning.

    2                MS. SMITH:    Good morning, Your Honor.          Shannon Smith

    3     on behalf of Jumana Nagarwala.

    4                My client was transported here.        Is there any way we

    5     can get --

    6                THE COURT:    I'm sorry.    I noticed that she wasn't

    7     here and I was going to say something as soon as I got to

    8     you.

    9                Oh, does she have a seat next to you?            Okay, good.

   10     Perfect.

   11                And I don't know if you finished putting your

   12     appearance on the record.

   13                MS. SMITH:    I did.   Shannon Smith on behalf of

   14     Defendant Nagarwala, who now stands --

   15                THE COURT:    Who is now present.

   16                You may all be seated.      Thank you.

   17                Okay.   We have several things today, and, in fact,

   18     you know what, I'm going to take them in order that they were

   19     filed, how's that?

   20                So the first one that we have is the motion to

   21     unredact the warrant affidavits.

   22                And the government says that they have already done

   23     that, is that correct?

   24                MS. CHARTIER:    After we filed the motion, the

   25     government did provide affidavits as applicable to each of


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    1     our clients is my understanding.        There likely will be an

    2     issue because we all don't have the same discovery, but

    3     that's a different motion, and that's certainly not filed and

    4     teed up for today.

    5                THE COURT:    Okay.   But you have received, you being

    6     the attorneys who requested them have received unredacted

    7     copies of the warrants, and affidavits, and so forth?

    8                MS. CHARTIER:    As directly applicable to each of our

    9     clients, yes.

   10                THE COURT:    Each of your clients.      And then there's

   11     going to be an issue on whether or not you can share them

   12     between, I guess we will have to talk about at a later time.

   13                MS. CHARTIER:    Yes, Your Honor.

   14                THE COURT:    Anybody disagree with that?

   15                MR. NEWBURG:    Well, I think that we did get some of

   16     the -- I think we got the unredacted applications of the

   17     affidavits.    However, we haven't gotten all of the discovery

   18     applicable to Defendant Three, including the inventory and

   19     other --

   20                THE COURT:    Okay.   The only thing I have before me

   21     today is the affidavits.

   22                MR. NEWBURG:    Correct.

   23                THE COURT:    And the government says they have

   24     provided those.     Now, if you need those, maybe you can work

   25     it out.    If you can't, I'm here.


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    1                MR. NEWBURG:    Okay.

    2                THE COURT:    But as I say, the only thing I have

    3     before me today is the affidavits, so it would be hard to --

    4     okay.

    5                So In terms of that motion, I'm going to dismiss it

    6     as moot, because it has been complied with at this point.

    7                MS. CHARTIER:    Thank you, Your Honor.

    8                THE COURT:    Without prejudice.      Of course, if you

    9     have other things you have to deal with, bring them forward.

   10                MS. CHARTIER:    Thank you.

   11                THE COURT:    The next one is the motion to compel,

   12     and has to do with the video, and also some examinations that

   13     were done, and that were -- and the photographs, also.

   14                Counsel, you may --

   15                MR. NEWBURG:    Thank you, Your Honor.       I filed the

   16     motion on behalf of Farida Attar.        And in reviewing what the

   17     --

   18                THE COURT:    It has been joined by all others, I

   19     believe, also.

   20                MR. NEWBURG:    That's correct, that's correct.

   21                It's our position, Judge, that the photographs and

   22     the videos fall directly within Rule 16.

   23                THE COURT:    Let me just ask one question.         The

   24     government in your response indicated that you did not have

   25     them at one time.     Do you have all of them at this point?


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    1                MS. WOODWARD:    Your Honor, we have the

    2     photographs -- I'm sorry, we have the videos from Dr. Nazar,

    3     which are the majority of the children at issue.            We do not

    4     have the videos from Dr. Harper at this time.

    5                THE COURT:    Those are the ones that he is trying to

    6     receive permission from the hospital, and so forth, for?

    7                MS. WOODWARD:    Correct.    So we're still working with

    8     the hospital and with Dr. Harper's legal counsel to obtain

    9     those.

   10                THE COURT:    Okay.   But the other ones you do have?

   11                MS. WOODWARD:    Correct.

   12                THE COURT:    I'll hear your argument of course in a

   13     minute.    I just wanted to see where we all stand.          Okay, back

   14     to you.    I'm sorry.

   15                MR. NEWBURG:    No problem, Your Honor.

   16                They are in the possession of the government, and

   17     the government has conceded that they're material to the

   18     defense.

   19                There is no exception that would prohibit the

   20     ability for us to make copies.        And that is really the crux

   21     of the disagreement that we have with the --

   22                THE COURT:    Yeah, I understand.      And, you know, I'm

   23     thinking out loud and I want to hear from everybody.

   24                The government has indicated that they will provide

   25     them to you, and that they will provide them to your experts


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    1      without you having to identify who your experts are.

    2                Their responses indicated to me that their problem

    3      is they don't want them to be copied and so forth, but that

    4      they can be viewed and so forth.

    5                They make a fairly strong argument in relation to

    6      the confidentiality of these, and I certainly trust the

    7      attorneys here.     You've been forthright in all the other

    8      discovery.    There hasn't been a violation.        There hasn't been

    9      anything even concerning not following all the rules, and the

   10      rules are pretty strict as we've put them into place at this

   11      point.

   12                And I know that obviously the attorneys are not that

   13      interested in looking at them.       It's their experts that would

   14      probably be more interested in looking at them, and relooking

   15      at them, and studying them, and so forth.

   16                And I'm trying to figure out how I can -- because

   17      these are third-party, so to speak, you know.          And everybody

   18      would view them a little bit differently, view these

   19      particular female minors.      I'm not sure, you know, and I keep

   20      thinking, you know, how -- personal effect -- the proposal of

   21      the government, so I could review them.         I've no desire to

   22      review them or I wouldn't know what to review anyhow, even if

   23      I did review them.     And I suspect the attorneys wouldn't

   24      know.

   25                MR. NEWBURG:     We might be in the same boat, Your


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    1      Honor.

    2                THE COURT:    Yeah, until you show them to an expert.

    3      And I think you absolutely have a right not to disclose who

    4      your experts are to the government, because you may have many

    5      experts and you may get several opinions and only want to use

    6      one or two, certainly, or none.       You have a right to do that.

    7                The government suggests that they have 400 FBI

    8      offices around the country.       They can handle your expert

    9      wherever they are.     And I'm addressing this maybe to the

   10      government more than any -- I'm thinking out loud, is what

   11      I'm telling you.     I've been thinking about this, how do I put

   12      this together.

   13                I think the defense has a right to see these.            I

   14      think the defense experts have an absolute right to see

   15      these, and to study them, and to digest them, and to compare

   16      them, and do all kinds of -- whatever they have to do in

   17      order to have a proper defense.

   18                But I understand the government's problem.           And

   19      though the FBI has 400 offices and so forth, and I'm sure to

   20      put it, how do I protect the defendants not having to

   21      disclose who their experts are if I put it in the hands --

   22      and again, not that I don't trust the government, or the FBI,

   23      or anything, but how do we do that?          I just don't know,

   24      mechanically.

   25                MR. NEWBURG:     Your Honor, one of the difficulties


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    1      that we have with the proposal from the government was even

    2      if we don't have to disclose the names, my assumption is

    3      going to the FBI office like that --

    4                THE COURT:    Yeah, that's what I'm saying.         If you go

    5      to an office --

    6                MR. NEWBURG:     It's an end around to make the

    7      disclosure.

    8                THE COURT:    If you walk into an office, you've got

    9      to sign your name, they've got to know who you are.            They're

   10      not going to let just anybody in their offices.

   11                MR. NEWBURG:     Correct.   And the second bit is that

   12      the experts that we've consulted with initially are not all

   13      in the United States.      They're in Europe, for example.

   14                THE COURT:    That makes it even more difficult for

   15      me.

   16                MR. NEWBURG:     So that's why one of the issues of --

   17      one of the solutions could be, that I would suggest to the

   18      Court is that we get provided one CD.         We are not looking to

   19      copy those CDs.     We are not looking to provide additional

   20      copies to any experts.

   21                We have a protective order in place.         I had

   22      exchanged an e-mail with Ms. Woodward indicating that we

   23      would agree to a more restrictive protective order than the

   24      restrictive one we already have, but we don't have any

   25      interest in making copies.       We can provide, I think what the


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    1      Court suggested the last time we were before it, a log of the

    2      people who we allow to view the discovery.

    3                THE COURT:    What I was thinking of doing, but you've

    4      just added a new dimension, and that is if people are

    5      overseas, and I have no jurisdiction over them in terms of,

    6      you know, if you share with them on the Internet or some

    7      other way.    I am very concerned about the individuals who had

    8      these exams, these pictures.

    9                I'm very concerned about the defendants having all

   10      of this information, learning as much as you can, getting as

   11      many experts.

   12                And one of the things I was thinking if, giving you

   13      one, not to be copied, not to be given, you can take it to

   14      your experts, and show it to the experts and so forth, and

   15      that's very controllable because it's not going over the

   16      Internet.    It's just --

   17                MR. NEWBURG:     That's correct.

   18                THE COURT:    -- you take that disk if you have an

   19      expert in Texas or wherever it happens to be, you take that

   20      over there because you want to talk him, and look at it, and

   21      everything else.

   22                But if he has an expert overseas, that's creating a

   23      little bit more problem for me, because the only way that you

   24      could possibly do that is by putting it onto the Internet.

   25      And as we --


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    1                MR. NEWBURG:     Judge, we would -- sorry to interrupt

    2      the Court.    We would bring the CD to them.        This would all be

    3      done, as far as I'm concerned, in face-to-face meetings, and

    4      with hand delivery.

    5                THE COURT:    Then it's much easier.

    6                MR. NEWBURG:     There would not be any --

    7                THE COURT:    The hand -- you'll be with them, they're

    8      looking at it.

    9                MR. NEWBURG:     Correct.   There would be no

   10      Cloud-based system.     There wouldn't be any secure line on the

   11      Internet.    It just would be --

   12                THE COURT:    It won't go on the Internet under any

   13      circumstances?

   14                MR. NEWBURG:     No.

   15                THE COURT:    It won't be on any server or anything.

   16      It will just be on that CD, it'll just be on the attorney's

   17      computer, and the person, whoever that person happens to be,

   18      will be somebody that is an expert.

   19                And I know the government talked about whether it's

   20      an M.D. or something, and so forth.          But it may be -- it has

   21      to be an expert of some type, as opposed to just somebody.

   22      But I'm not necessarily driven by the fact that it has to be

   23      a medical doctor.     It could be, I don't know, something else.

   24                But what's the government have to say about that,

   25      one CD.   They -- wherever it is, "they" being the attorneys,


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    1      would be responsible to make sure it isn't copied, make sure

    2      that it isn't given, pretty much like our other protective

    3      order, adding one dimension, and that dimension is some

    4      specifics in terms of who can view it, and that it's not to

    5      be on any kind of system that is connected in any way to

    6      anything -- any network, or Internet, or something.

    7                What's the government's position on that?

    8                MS. WOODWARD:     Our position, Judge, is that that

    9      would be incredibly hard to enforce, and that I am not

   10      suggesting that anyone here in the room might willfully

   11      violate that order, but with six defendants, and as Your

   12      Honor indicated and Mr. Newburg said, you know, potentially

   13      many experts and several opinions, that I just don't know

   14      logistically that we could enforce that.

   15                And I think if the concern is that the defense

   16      attorneys don't want the government to know the experts that

   17      they're consulting with, I think there could be a way around

   18      that.

   19                If the experts came to the FBI, we could set up

   20      almost like a tag team, where the FBI would not tell us or

   21      even tell the case agents who had come to view this material,

   22      and we could make it available to them that way, without

   23      letting the trial team know who was visiting at that --

   24                THE COURT:    Yeah.    I mean, they do that in law

   25      firms.   They call it a Chinese wall.        But this is a little


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    1      bit different, because this is a -- and I agree.            But I think

    2      that it's not as unenforceable as you think it is.

    3                 The people that will be responsible for this are all

    4      members of the bar.      They all have their license at stake,

    5      and I'm not suggesting that they would do anything other than

    6      that.    And the Court has its contempt power, which includes

    7      criminal contempt, and I think that if this kind of order

    8      were violated, it would be criminal contempt.          I'm not making

    9      that ruling, but my first thought was that it would be

   10      criminal contempt.      I mean, it's of that nature.        So I think

   11      it can be enforced.

   12                 And as I said, I don't have any reason to believe

   13      that the attorneys won't abide by it.         I mean, I have every

   14      reason to believe that the attorneys will abide by it.

   15                 Mr. Legghio, you were going to say something.

   16                 MR. LEGGHIO:    Yes, sir.

   17                 THE COURT:    I saw your hand moving, but let's see

   18      your mouth.

   19                 MR. LEGGHIO:    Okay.   Thank you for allowing me the

   20      floor.    I guess I would just want to add in this, Judge.            And

   21      you've practiced in state court, you've practiced in federal

   22      court.    Sitting at this table, collectively, there's over 150

   23      years of legal experience.       We've all --

   24                 THE COURT:    All right, you don't have to convince

   25      me.   I think sitting at that table is the outstanding members


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    1      of our bar, in terms of not only practicing, but also in

    2      terms of ethics, and morality, and so forth.          You don't have

    3      to convince me of that.      I am totally convinced.

    4                 MR. LEGGHIO:    But what I wanted to add was that is

    5      every lawyer at this table, or collectively, we've tried

    6      murder cases, we've tried rape cases, child rape cases, we've

    7      seen autopsy reports.      We've seen every type of children who

    8      have been raped and are still living.         We get all of those

    9      reports.

   10                 We've all honored the Court's dictates.          While this

   11      is a sensitive issue, I guess what I'm saying to the Court,

   12      perhaps it balances that.      I don't -- I'm asking the Court

   13      not to have too high a sensitivity, because this is not

   14      significantly different than a child rape case in which we

   15      get all of the reports, and all of the pictures, and all of

   16      --

   17                 THE COURT:   I think it's significantly different.

   18      But I think that you're correct, I think you have to have

   19      them.   I think you have to have access to them.           And I think

   20      the suggestion that we add to the protective order that in

   21      terms of these videos, photographs, and whatever they call

   22      the results of that test that they were looking at, that they

   23      be limited to the attorneys, that if the attorneys want to

   24      share them with their experts, they may.          But they can't give

   25      them copies, that it will not be on the Internet or any other


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    1      kind of network.     It will only be on a non-network kind of

    2      computer.    And if somebody -- and that the attorney will be

    3      responsible for that, in their possession.          So it has to be

    4      done by a member of the bar, an attorney of record of this

    5      case.

    6                And I think that that would solve the problem,

    7      because I don't equate this to a rape case because it is a

    8      much different kind of case, it's a much different kind of

    9      examination.    But I think that would solve the problem.           It

   10      would give the defendants plenty of opportunity to get

   11      prepared for trial, and would protect those that are involved

   12      in this particular case and went through that examination.

   13                MS. WOODWARD:     Your Honor, if I could just --

   14                THE COURT:    Of course.

   15                MS. WOODWARD:     A point that I didn't get to make to

   16      Your Honor is that this order would be against the standard

   17      practice for child abuse pediatricians.         I've spoken with the

   18      child abuse pediatricians in this case, who have each

   19      performed thousands of anogenital examinations aided by

   20      colposcope, including in rape cases, as Mr. Legghio

   21      suggested.    Neither of them have ever turned over a copy of a

   22      video of an anogenital examination documented by colposcope,

   23      so this would be unusual and very different from how this

   24      evidence is generally treated.

   25                THE COURT:    I wasn't aware of that, but I assumed


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    1      that that was true.     But I also think that the allegations in

    2      this case, as we all know, this is a case of first

    3      impression.    It is not a rape case.        It is a much different

    4      kind of case.    The whole charge, in and of itself, is

    5      different.    I think that the charge and what is alleged in

    6      this particular matter is a different scope of viewing, and

    7      medical, and so forth.

    8                I think probably, if I'm not mistaken from just what

    9      I've read in everybody's pleadings, most of the doctors never

   10      came across this themselves before, and they were kind of

   11      looking, and trying to evaluate.        I can't make an analogy

   12      necessarily between a rape case.        I understand that it's one

   13      of first impression for the pediatricians also, but also for

   14      this Court and all of us.

   15                But I think that this would solve that problem and

   16      also solve the problem of being able to afford the defendants

   17      an adequate defense in this matter.

   18                MS. WOODWARD:     It is a case of first impression, of

   19      course, but this type of evidence, anogenital exams

   20      videotaped by colposcope is not unusual.           And these are not

   21      generally ever turned over because they are so sensitive.

   22      And I do think that the analogies in my response to child

   23      pornography evidence, and also child forensic interviews,

   24      which are also not produced to the defendants because it

   25      depicts the likeness of the child.           So there are analogies


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    1      that are similar, even though this is a unique case.

    2                THE COURT:    I saw yours, and I was reading it, and I

    3      was looking at it, trying to be persuaded in one way or the

    4      other, and it is very persuasive.

    5                But then I also read on, and in this particular case

    6      the allegations are of cutting, the allegations are of

    7      certain sensitive parts of a female's anatomy, and so forth,

    8      which are different in terms of charge, and which they have

    9      to defend in this particular matter.

   10                So the Court will, as I have indicated, turn over

   11      under those circumstances.

   12                MS. WOODWARD:     And, Your Honor, there was some

   13      discussion of one CD.      Is that one CD per defendant and

   14      defense attorney, is it a single hard drive that the defense

   15      team shares?    I'm unclear --

   16                THE COURT:    What --

   17                MS. CHARTIER:     It would be one per defendant.         I

   18      mean, that's what I would think, because while we are a team,

   19      they are six individuals fighting for their constitutional

   20      rights.

   21                THE COURT:    But that means that each attorney has to

   22      have a dedicated or one that's only for this, so it doesn't

   23      get --

   24                MS. CHARTIER:     Absolutely.

   25                THE COURT:    I think one each.      I think they have to


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    1      right to --

    2                 MS. WOODWARD:    And I think it would most likely be

    3      on hard drive because these are videos.         If we can put it on

    4      a DVD, we will.

    5                 THE COURT:   Okay.    I don't know anything about that.

    6                 MS. WOODWARD:    And just so you know, there's no way

    7      if this DVD or hard drive is copied, technologically, we will

    8      never know.

    9                 THE COURT:   I didn't know that, but I assumed that,

   10      as I say.    The order is only as good as the credibility of

   11      the attorneys, and the potential punishment, just like

   12      anything else.    That's what we're all about.        We all follow

   13      the rules and -- because we know that the punishment would be

   14      severe, and I have no reason to believe that we would ever

   15      get to that spot, but if we did, I -- I don't have to say

   16      anymore.

   17                 Mr. Sabbota?

   18                 MR. SABBOTA:    Excuse me.    Judge, could we have a

   19      date once the order's entered, how soon it will be turned

   20      over?

   21                 MS. WOODWARD:    And, Your Honor, I can only turn over

   22      what's in my possession.      So this will not include the videos

   23      from Minnesota, and the Court's order may or may not affect

   24      whether, and how soon we get those.

   25                 THE COURT:   Okay.    But the order will indicate that


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    1      as soon as you get those, that you will turn them over to the

    2      defense.   And if the answer there, from the hospital and the

    3      pediatricians, that they are not going to give them to the

    4      government, then as soon as you hear that information,

    5      whichever way you go, you should notify the defendants

    6      forthwith.    So if you get them, you turn them over.          If you

    7      don't get them, then you'll let them know we can't get them

    8      because they are not turning them over to us, so they know

    9      what's forthcoming.

   10                 MR. SABBOTA:    Okay, if we set a date --

   11                 THE COURT:   Why don't you do the order.         As soon as

   12      I get the order they should be turned over within a week of

   13      the order.    I don't think there's any reason --

   14                 MR. SABBOTA:    Thank you, Judge.

   15                 THE COURT:   And the form of it, you guys can agree

   16      on.   I don't know anything about the IT, so I don't know if

   17      it should be a disk, or a thumb drive or whatever you guys

   18      believe is the most secure.

   19                 Okay.   I think those are the outstanding motions on

   20      that.   And the other motion that we have is the motion for

   21      the conditions of pretrial release.

   22                 MS. SMITH:   Your Honor, with respect to that motion,

   23      my office did file a motion to seal, but we have not received

   24      the order yet, which is why we've not filed it on the

   25      electronic filing system.


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    1                THE COURT:    Oh, I see it.        I signed it.    My clerk

    2      just came back today.

    3                (Discussion off record)

    4                MR. SABBOTA:     I don't mean to interrupt you, but

    5      before we get to the other motion, does that order also

    6      encompass the kids' talk, interviews with the children?

    7                THE COURT:    I'm sorry.    The other order, does it

    8      also include --

    9                MR. SABBOTA:     My understanding is the Court is going

   10      to enter an order that says that we can receive the medical

   11      examination, but there's also the kids' talk interviews.

   12                MS. WOODWARD:     That's not part of the pending

   13      motion.

   14                THE COURT:    That wasn't part of the motion, but

   15      hopefully you guys can work that one out too, on the same

   16      basis.

   17                MR. SABBOTA:     Okay.   I thought that it was --

   18                THE COURT:    No, it's not part of the motion, and I

   19      have never seen the government's response to that.             I knew

   20      they were outstanding, because they were mentioned, but not a

   21      part of the -- hopefully on the same basis it should be

   22      pretty much the same.      But I'm not making that ruling because

   23      I haven't read the government's position.

   24                Do we have anybody here from pretrial?

   25                MS. WOODWARD:     There is no one here from pretrial.


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    1      I spoke with Officer Hinojosa this morning.          He was not

    2      aware that a motions had filed by Defendant Jumana Nagarwala.

    3                THE COURT:    Yeah, because I think she did not file

    4      it because she asked that it be sealed.

    5                MS. SMITH:    Right.    So as soon as we get the order

    6      to seal, which it sounds like we're going to -- we're going

    7      to file in on the system.       So maybe if we could just work out

    8      a date for the hearing, that would be the best.

    9                THE COURT:    Okay.    That's great.

   10                (Discussion off record)

   11                THE COURT:    Neither of the motions have been set for

   12      hearing yet.    Both your clients, as well as the other clients

   13      have not been set for motion.

   14                I've read them, and for some reason, I thought that

   15      -- not yours, but the others in terms of the bond conditions

   16      were up today.    So we will set a date for both of those.

   17                I don't think the government has not responded to

   18      either, I don't think.      I haven't seen the response.

   19                MS. WOODWARD:     That's correct.     Mrs. Nagarwala's

   20      motion was filed last Wednesday, and the Attar motion was

   21      filed yesterday.

   22                THE COURT:    So the government has to have some time

   23      to respond.

   24                DEPUTY COURT CLERK:      Final pretrial/plea cutoff that

   25      is to September 19th at eleven.       I don't know if that's a


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    1      doable date.

    2                 MS. SMITH:   That's totally fine for me.         If the

    3      Court could it hear it sooner, I could do it sooner.             If not,

    4      the 19th is fine.

    5                 DEPUTY COURT CLERK:     For the motions.

    6                 THE COURT:   That's the two motions, the two motions

    7      that deal with the bond.      I've read both of them, but I have

    8      not read the government's response.          Obviously they haven't

    9      filed one, and that will give the government adequate time to

   10      respond.

   11                 DEPUTY COURT CLERK:     You're going to hear the

   12      motions ahead of the final pretrial?

   13                 THE COURT:   Oh, yeah, because the final

   14      pretrial will -- we'll have a final pretrial on that date,

   15      too, just so we can talk about scheduling, but I don't think

   16      it's going to be prepared -- let's do it on the 19th.             We'll

   17      hear both of those motions.

   18                 MS. SMITH:   Perfect.

   19                 THE COURT:   And we will also discuss what's going to

   20      go on with discovery, what kind of dates you guys are looking

   21      at, whether you're looking at motions, all of those kinds of

   22      things at the same time.

   23                 MS. SMITH:   I think that's perfect.

   24                 THE COURT:   Good.    Anybody else, while we're all

   25      together, have anything to offer?


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    1                MR. SABBOTA:     I just want to be sure, Judge.         We

    2      have the pretrial coming up, we have a trial date, and

    3      there's other discovery we are going to receive.            We need

    4      experts to look at the --

    5                THE COURT:    I assume the trial date is not going.               I

    6      mean, that's what I'm saying.       No, I assume that on the 19th,

    7      what I assume we're going to do is sit down with the

    8      attorneys, and probably in chambers, and talk about how much

    9      time you need and, you know, so start thinking about what

   10      you're looking at, how much time you need, what you want to

   11      do.

   12                Start looking at any outstanding motions that you

   13      may want to file in terms of discovery, and we will talk.

   14      And I think that's pretty much how we're going to have to do

   15      it.

   16                And the same thing with the government.           The

   17      government has a lot of moving parts, too.          They've got lots

   18      of witnesses, different places, and so forth.          So start

   19      thinking about getting prepared for trial and then start

   20      thinking about dates for trial, when witnesses are available,

   21      and things of that nature, so that we can at least start

   22      putting together some skeleton of the whole case.

   23                And I have no expectations that we are going to have

   24      it all on the 19th, but we will do as much as we can on the

   25      19th.


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    1                MS. WOODWARD:     Thanks.

    2                MR. SABBOTA:     Thank you.

    3                THE COURT:    Thank you.    Anything else?

    4                MS. WOODWARD:     No.   Thank you, Your Honor.

    5                THE COURT:    And you're our only case today.          We will

    6      stand in recess.     Thank you.

    7                All you have to do is pretty much the same order

    8      that you had before, and add these conditions as it relates

    9      to the specific information that's in the motion.            So if you

   10      put that together I think that's -- you know, and share it

   11      between yourselves.

   12                But I think the other one is pretty strong, so if we

   13      add this to the other one, that we have exactly what we're

   14      talking about today.

   15                So get it to me.     As soon you get it to me, I'll

   16      sign it, and a week later you'll get the information.

   17                MR. SABBOTA:     Thank you very much.

   18                MR. LEGGHIO:     Thank you, Your Honor.

   19                MS. SMITH:    Thanks, Your Honor.

   20                THE COURT:    Okay, good.     Thanks.

   21                (Court in recess at 11:30 a.m.)

   22                                 *      *      *

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   14                        C E R T I F I C A T I O N

   15                I, Marie J. Metcalf, Official Court         Reporter for

   16      the United States District Court, Eastern District of

   17      Michigan, Southern Division, appointed pursuant to the

   18      provisions of Title 28, United States Code, Section 753, do

   19      hereby certify that the foregoing is a correct transcript of

   20      the proceedings in the above-entitled cause on the date

   21      hereinbefore set forth.

   22                I do further certify that the foregoing transcript

   23      has been prepared by me or under my direction.

   24      s\Marie J. Metcalf                             September 1, 2017

   25      Marie J. Metcalf, CVR, CM                       (Date)


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